                      Case 17-50337-KG          Doc 52      Filed 04/03/19      Page 1 of 1

                        UNITED STATES BANKRUPTCY COURT
                                 District of Delaware
                             824 Market Street, 3rd Floor
                                Wilmington, DE 19801
In Re:                                                )   Bankruptcy Case No.: 17−10500−KJC
AEI Winddown, Inc.                                    )   Bankruptcy Chapter: 11
     Debtor                                           )
__________________________________________            )
Bryan Dilascio                                        )
                                                      )
      Plaintiff                                       )   Adv. Proc. No.: 17−50337−KJC
      vs.                                             )
                                                      )
Aquion Energy, Inc.
     Defendant                                        )

                       NOTICE AND ORDER OF REQUEST FOR STATUS REPORT

       IT IS HEREBY ORDERED that Plaintiff's Counsel file a Status Report within 21 days from the date of this
order. Failure to do so may result in dismissal of the case, a mandatory court appearance to determine whether the
case should be dismissed for lack of prosecution and/or whether sanctions should be imposed for failure to comply
with this order.
       IT IS FURTHER ORDERED that the Status Report be filed in the lead bankruptcy case as well as in each
Adversary Proceeding within 21 days of the date of this order.




Date: 4/3/19
                                                                                   Kevin J. Carey
                                                                                  Bankruptcy Judge




(VAN−417)
